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                      Attachment 1
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TIMOTHY J. BURKE
                 Profile
                 Visual & social communication expert with a long track record of reaching broad audiences through
                 effective social media strategy & a deep understanding of online human behavior. Tens of millions
                 reached through viral social media posts with topics including politics, sports, and commentary.

                 Experience
                 Director of Video, The Daily Beast — 2018-2019
                 Managed video team & budgets for major national news & politics organization. Created assets,
                 organized archives, handled purchase orders, hiring, and accounting. Produced video content for web
                 & social.

                 Video Director, Gizmodo Media Group — 2011-2018
                 Managed video team for sites including Deadspin and Gawker. Produced video content for web & social
                 while writing investigative and sports media reporting articles.

                 Video/Assignment Editor, Abrams Media — 2011
                 Monitored sports news space to identify and elevate breaking news stories, acquiring and editing video
                 assets, & publishing major news articles.

                 Professor/Instructor, Colleges & Universities — 1999-2011
                 Taught public speaking, rhetoric, media theory, argumentation, and persuasion at Eastern Michigan
                 University, Muskingum University, Noble Correctional Institution, University of South Florida, Hillsborough
                 Community College, and Florida State College. Served as Director of Forensics at Muskingum College
                 from 2001-2004, leading team to twice finish in the top ten nationally.

                 Education
                 University of South Florida — Ph.D (ABD, communication), 2008
                 Eastern Michigan University — Master of Arts (communication), 2000
                 Ohio University — Bachelor of Science (Broadcast Journalism), 1999

                 Skills
                 Social media campaign inception, monitoring, & analysis. Budgeting, accounting, and hiring. Expert
                 level experience with video and closed captioning processing using ffmpeg, custom scripting (bash,
                 php, python, perl), managing teams of up to 20 members, video and audio editing (Adobe Premiere,
                 After Effects, Final Cut, Logic, Audition). Broadcast production for web, RTMP/HDS/HLS streaming.
                 Live broadcasts over IP to Facebook/Twitter APIs. Custom hardware construction and creation of
                 private archive currently holding more than 100,000 hours of live broadcast news and sports footage.

                 Noteworthy Publications
                 “How America's Largest Local TV Owner Turned Its News Anchors Into Soldiers In Trump's War On The
                 Media” (March 2018)
                 “Manti Te’o’s Dead Girlfriend, The Most Heartbreaking And Inspirational Story Of The College Football
                 Season, Is A Hoax” (January 2013)
                 “The Long Con: How The Manziels Conquered America” (August 2013)
                 “This Is Why There Are So Many Ties In Swimming” (August 2016)

                 Awards
                 Finalist, National Magazine Award (Video), 2019
                 Finalist, Mirror Award (John M. Higgins Award for Best In-Depth/Enterprise Reporting), 2014
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